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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


PATRIARCH PARTNERS, LLC,

                                          Plaintiff,
                                                         18 Civ. 2513
               —against—

DENNIS PRATTE,
                                        Defendant.


                                            COMPLAINT

       Plaintiff Patriarch Partners, LLC (“Patriarch”) respectfully alleges as follows:

                                           INTRODUCTION

       1.      This suit seeks to hold defendant Dennis Pratte to his unambiguous obligation to

reimburse Patriarch for substantial pilot training expenses that the company advanced for his

benefit and that he agreed to repay if he left Patriarch within his first year. Pratte voluntarily

resigned after less than six months on the job, yet, having gained the benefit of pilot training paid

for by Patriarch, he refuses to reimburse Patriarch, as agreed.

                                     JURISDICTION AND VENUE

       2.      This action arises under federal law (specifically, 28 U.S.C. § 2201 and 49 U.S.C.

§ 42121), and therefore jurisdiction lies in federal court under 28 U.S.C. § 1331. Jurisdiction is

also proper under 28 U.S.C. § 1332 because the plaintiff and defendant are citizens of different

states and the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs.
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       3.      Venue is proper because the parties agreed to resolving their disputes in the courts

in New York County. Venue is also proper under 28 U.S.C. § 1391(b)(2), because a substantial

part of the events or omissions giving rise to the claims occurred in this District.

                                               FACTS

The Parties

       4.      Plaintiff Patriarch is a private, family office investment firm that is incorporated

in Delaware, and has its principal place of business in this District. Lynn Tilton founded

Patriarch in 2000, and is the company’s CEO. Patriarch’s mission since its founding has been to

invest, through affiliated investment funds, in distressed companies (referred to as “Portfolio

Companies”), and turn them around. Ms. Tilton is actively involved in the management of the

Portfolio Companies, often serving as CEO and as a board member or manager of the companies

(in most cases, the sole board member or manager).

       5.      Defendant Dennis Pratte was employed by Patriarch as a pilot from June 19, 2017

until January 3, 2018.

Patriarch’s Flight Department

       6.      Tilton’s job responsibilities require that she travel with great frequency, including

by visiting Patriarch Portfolio Companies across the country.

       7.      She generally travels on a company-operated airplane (a Gulfstream G280) or a

company-operated helicopter (an MD902), in both cases with pilots that are employed by

Patriarch.

The Parties’ Contracts

       8.      On or about June 9, 2017, defendant Dennis Pratte signed three contracts in

connection with his acceptance of a new position as a pilot at Patriarch.




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       9.      First, he countersigned a letter offering him “the position of Captain, Flight

Department at Patriarch Partners, LLC (the ‘Company’) at its principal office in New York, New

York with a start date of June 19, 2017 . . . .” (the “Offer Letter”).

       10.     The Offer Letter stated that Patriarch would advance certain training expenses if

Pratte worked for Patriarch for at least one year:

               The Company will reimburse you for the reasonable costs of your
               G280 training and certification, subject to successful completion
               within an agreed period of time. . . . If you voluntarily resign your
               employment or are terminated for ‘cause’ (as determined by the
               Board in its sole discretion) within one (1) year after your start
               date, you agree that you will promptly reimburse the Company for
               all amounts paid to you in connection with your relocation and for
               your G280 training and certification . . . .

       11.     Second, he signed a “Confidential Information & Invention Agreement” in which

he agreed (among other things) to “not, directly or indirectly, use, make available, sell, disclose

or otherwise communicate to any other person or entity any Confidential Information.” The

agreement is governed by New York law and provides that, in the event of a dispute, exclusive

jurisdiction lies in the courts in New York County.

       12.     Third, he signed a letter agreement requiring that he keep confidential certain

“Personal Information” learned on the job. The confidentiality letter agreement is likewise

governed by New York law and states that the parties submit to the jurisdiction of the courts in

New York County.

       13.     The three agreements were integrated with one another. They were presented and

signed together, and the Offer Letter explicitly stated that a “condition to [Pratte’s] employment”

was that he execute the other two (together, the “Confidentiality Agreements”).

       14.     Pratte began work at Patriarch on June 19, 2017.




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Pratte Voluntarily Resigns Less Than Six Months Into the Job

       15.     Consistent with the Offer Letter, Patriarch advanced funds for Pratte to receive

training to fly the Gulfstream G280. The fees and expenses for the training totaled $64,435.69.

       16.     On January 2, 2018, less than six months into his new job, Pratte sent an email to

Dan Brown in the Flight Department, with a copy to Randy Jones, a Managing Director of

Patriarch, with the subject line, “Notice of planned resignation.”

       17.     The email stated, in full:

               Dan,

               In an effort to give you as much time as possible to find a new
               pilot, I am giving notice that I will be leaving the company on my
               June 9th anniversary (or earlier if you find a suitable replacement
               and wish to terminate my employment agreement sooner). I want
               to provide you with this information now in case it changes your
               decision to train me in the MD-902 helicopter or provide recurrent
               training in the Gulfstream. I also want to give you plenty of time to
               find and train another pilot.

               I appreciate the opportunity to work at Patriarch Partners. I believe
               the company has great employees, fabulous aircraft, and the pay is
               above industry norms, however when it comes to operational
               safety of the passengers, aircraft, and crew, you and I have separate
               and distinct ideologies on how best to ensure we are operating at
               the highest levels of safety. I’m not going to say either ideology is
               wrong, or better than the other, but I cannot accept the current path
               the Flight Department is heading and I think it’s best that I end my
               employment with the company as soon as you find another pilot
               and get him/her trained - or June 9th, whichever the company
               prefers.

               Until you find a new pilot and ask for my resignation, I’ll continue
               to be the best pilot I can be and will continue to provide the best
               service I can for Ms. Tilton, but I will resign no later than June 9th.

               Thanks again and I’ll see you at work in the morning.

               Dennis




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       18.     Jones forwarded the email to Tilton, and the two had a short conversation the

same day to discuss what to do. During the conversation, Tilton instructed Jones to accept

Pratte’s resignation immediately, because she did not want Patriarch to employ a pilot who no

longer wanted to work at the company. Nor did she want to entrust her safety to someone who

clearly preferred to be working elsewhere.

       19.     Jones scheduled a meeting with Pratte the next day at Patriarch’s offices in New

York, and delivered the news that the company was accepting his resignation, effective

immediately. Jones followed up with a written letter requesting that Pratte reimburse the

company for the pilot training fees it had incurred.

       20.     Pratte has retained all the benefits of the G280 training (which he may use for his

future endeavors), but has refused to reimburse Patriarch for any of the associated expenses, as

he explicitly agreed.

Pratte Tries to Shake Down Patriarch With a Bogus Retaliation Claim

       21.     On January 29, 2018, Pratte (through counsel) sent Patriarch a letter threatening to

sue Patriarch for unlawful retaliation under Wendell H. Ford Aviation Investment and Reform

Act for the 21st Century, 49 U.S.C. § 42121, and under state law. Pratte alleged in the letter that

he was fired for having reported to his superiors that Patriarch was violating various aviation

regulations, and that he should be reinstated, paid huge sums of back pay, and even punitive

damages.

       22.     These threatened claims are meritless and frivolous, for multiple, independent

reasons, including the following.

       23.     First, a plaintiff bringing a retaliation claim must prove that he or she was

subjected to an adverse employment action, such as being demoted or fired. Pratte voluntarily

resigned. That Patriarch accepted his resignation immediately does not mean he was fired. After

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all, Pratte offered Patriarch the option to accept his resignation at a sooner date of its choosing.

In any case, once Pratte announced a desire to resign, he had no right to foist upon Patriarch a

later resignation date of his own choosing.

       24.     Second, Patriarch’s acceptance of Pratte’s resignation had nothing to do with any

alleged complaints about violations of the law. Neither Ms. Tilton (who made the decision to

accept the resignation), nor Mr. Jones (the only person with whom she discussed the decision

before it was made) had any knowledge of such allegations. The email announcing his

resignation would not suggest that Pratte believed that there were any legal violations. To the

contrary, it specifically said that Patriarch’s approach to aviation was neither “wrong” nor “better

than” his (unspecified) preferred approach.

       25.     Third, he could not possibly prove any damages, given that he had already

announced his willingness to resign at any time.

Pratte Violates the Confidentiality Agreements

       26.     In the course of investigating Pratte’s claims, Patriarch came to learn that he

engaged in multiple breaches of his Confidentiality Agreements. Specifically, Patriarch

discovered that Pratte routinely forward confidential, company emails to his personal email

accounts, and, based on his own admissions in his threatening letter, was routinely recording

conversations with Patriarch employees surreptitiously.

       27.     Those documents and recordings are company property that Pratte has no right to

retain or disseminate.

                         FIRST CAUSE OF ACTION — BREACH OF CONTRACT
                                        (OFFER LETTER)

       28.     Patriarch incorporates the foregoing allegations in full.




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        29.     Under the Offer Letter, Pratte agreed to “promptly reimburse” Patriarch for

certain training and other expenses if “he voluntarily resign[ed] [his] employment or [was]

terminated for ‘cause’ (as determined by the Board in its sole discretion) within one (1) year after

[his] start date.”

        30.     Pratte voluntarily resigned within one year after his start date.

        31.     Alternatively, Pratte was terminated for cause, in the Board’s “sole discretion.”

Patriarch’s Board had the unfettered discretion to determine that Pratte was subject to immediate

removal from his job, given that, following the company’s investment in him, he had so quickly

announced he wanted to leave.

        32.     As a further alternative, Pratte announced that he would resign no later than June

9, 2018. Even that date is less than one year from his start date (June 17, 2017), and so the

reimbursement obligation would in all events be triggered.

        33.     Patriarch has been damaged insofar as Pratte has not paid the expenses due.

                       SECOND CAUSE OF ACTION — BREACH OF CONTRACT
                               (CONFIDENTIALITY AGREEMENTS)

        34.     Patriarch incorporates the foregoing allegations in full.

        35.     Pratte has breached the Confidentiality Agreement by, among other actions,

sending himself and retaining, confidential company emails and recordings of confidential

Patriarch communications.

        36.     Patriarch has been damaged by these breaches in an amount that will be

determined at trial.

           THIRD CAUSE OF ACTION — DECLARATORY JUDGMENT (28 U.S.C. § 2201)

        37.     Patriarch incorporates the foregoing allegations in full.




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         38.    Pratte has threated to sue Patriarch for retaliation under 49 U.S.C. § 42121 and

under state law.

         39.    There is an actual controversy between the parties as to whether these allegations

have merit.

         40.    In fact, they have no merit whatsoever, and it would benefit the parties and the

administration of justice for the Court to issue a judgment declaring as much.

                                     PRAYER FOR RELIEF

         WHEREFORE, Patriarch hereby demands:

         1.     injunctive relief directing Pratte to return all information belonging to Patriarch or

otherwise covered by the Confidentiality Agreements;

         2.     damages in an amount to be determined at trial, plus all appropriate interest and

costs;

         3.     a judicial declaration that Patriarch has not engaged in unlawful retaliation against

the plaintiff; and

         4.     such other relief as the Court deems just and proper.

Dated: New York, New York                           Respectfully submitted,
       March 20, 2018                               STEPTOE & JOHNSON LLP
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